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                         UNITED STATES DISTRICT COURT

                         EASTERN DISTRICT OF LOUISIANA



E. N. BISSO & SON, INC.                          * CIVIL ACTION

VERUS                                            * NO. 19-cv-14666

M/V DONNA J. BOUCHARD, her tackle,               * SECTION “E” (1)
Furniture, apparel, appurtenances, etc. in
rem, and the Barge B. NO. 272, her tackle,       * JUDGE MORGAN
Furniture, apparel, appurtenances, etc. in
rem and BOUCHARD TRANSPORTATION                  * MAGISTRATE VAN MEERVELD
CO., INC. in personam

*      *      *      *      *      *      *      *


                   MEMORANDUM IN OPPOSITION TO
             PLAINTIFF’S MOTION FOR INTERLOCUTORY SALE

MAY IT PLEASE THE COURT:

       Tug DONNA J. BOUCHARD Corp., as owner and claimant of the M/V DONNA

J. BOUCHARD, in rem, and B. No. 272 Corp., as owner and claimant of the Barge B.

No. 272, in rem, both subject to their restricted appearance pursuant to Rule E(8) of the

Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions to

the Federal Rules of Civil Procedure (“Supplemental Admiralty Rules”), file this

Opposition to the Motion for Interlocutory Sale [R. Doc. 41] filed by plaintiff, E.N. Bisso

& Son, Inc. (“Bisso”).

       Bisso fails to carry its burden of proving the necessary critical elements to support

an interlocutory sale of the M/V DONNA J. BOUCHARD and Barge B. No. 272 (the
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“Vessels”) under Rule E(9) of the Supplemental Admiralty Rules. Bisso has failed to

prove that the Vessels are perishable or subject to deterioration, decay or injury. Nor has

Bisso proven that the expense of maintaining the Vessels at Port Fourchon renders the

cost of maintaining the vessel under arrest excessive. In fact, these costs are miniscule in

comparison to the value of the Vessels, which Bisso acknowledges is over $100 million.

And finally, there has been no unreasonable delay. It has only been a little over two (2)

months since the Vessels were arrested on December 18, 2020, and the Vessels’ owners’

representative are and have been actively working to obtain the financing necessary to

secure the Vessels’ release and/or resolve these claims.

       Because Bisso’s Motion for Interlocutory Sale cannot satisfy any of the

requirements under Supplemental Admiralty Rule E(9), Bisso’s Motion should be denied.

                                      Law and Argument

       Rule E(9)(a) of the Supplemental Admiralty Rules provides for the interlocutory

sale of seized property as follows:

              (i) On application of a party, the marshal, or other person
              having custody of the property, the court may order all or part
              of the property sold—with the sales proceeds, or as much of
              them as will satisfy the judgment, paid into court to await
              further orders of the court—if:

                     (A) the attached or arrested property is
                     perishable, or liable to deterioration, decay, or
                     injury by being detained in custody pending the
                     action;

                     (B) the expense of keeping the property is
                     excessive or disproportionate; or




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                     (C) there is an unreasonable delay in securing
                     release of the property.

              (ii) In the circumstances described in Rule E(9)(a)(i), the
              court, on motion by a defendant or a person filing a statement
              of interest or right under Rule C(6), may order that the
              property, rather than being sold, be delivered to the movant
              upon giving security under these rules. [Emphasis added.]

       The movant has the burden of proof and must “demonstrate that at least one of the

[three] conditions listed in Rule E(9)(b) [now E(9)(a)] is present before the sale of the

vessel will be ordered.” Triton Container Int'l v. Baltic Shipping Co., 1995 U.S. Dist.

LEXIS 4856, at *4 (E.D. La. Apr. 11, 1995) (Sear, J.). But “[e]ven if they meet this

burden, the Rule, by using the word ‘may’, clearly indicates that ordering the sale is not

mandatory.” Id. As explained by the Seventh Circuit, “[b]ecause the rule does not state

any criteria to guide the judge … [the judge] can range widely in deciding what factors to

consider … [I]n other words, (the judge) has considerable discretion.” United States v.

Approximately 81, 454 Cans of Baby Formula, 560 F.3d 638, 641 (7th Cir. 2009)

(affirming the district court’s exercise of discretion in denying a motion for interlocutory

sale under the identical wording of Supplemental Rule G).

A.     The Vessels are not perishable, or liable to deterioration, decay, or injury by
       being detained in custody

       The main substance of Bisso’s contentions appears to be that the Vessels presented

a potential risk of harm to the property and lives of others because they were anchored at

Nine Mile Anchorage near busy navigation lanes of the Mississippi River, exposing the

Vessels to risk of breakaway, collision with other vessels, and “other potential disasters.”

Even if true – and Bisso provides no proof of such danger – that issue is no longer


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relevant. As Bisso acknowledges, the Coast Guard moved the Vessels on February 24

and 25, 2020 to a safe, secure and remote location the Coast Guard selected at Yellow Fin

Marine on Bayou Lafourche in Fourchon, Louisiana. The Coast Guard is currently

conducting a pollution assessment to determine how much residual cargo and other

petroleum products may be removed from the Vessels, but this removal is not scheduled

at this time. The Coast Guard has confirmed that after the cargo/petroleum removal, if

any, is conducted, the Vessels can stay at Yellow Fin Marine. As such, the Vessels do not

present a danger to anyone at this present location.1

         Bisso has also failed to show that the Vessels themselves are perishable, or subject

to deterioration, decay or injury in any way. In Boland Marine & Mfg. Co. v. M/V A.G.

Navajo, 2002 U.S. Dist. LEXIS 22737 (E.D. La. Nov. 22, 2002), the case relied upon by

Bisso, the vessel was moored near two floating derrick barges in a busy waterway, there

was no crew on board, no maintenance work had been performed lately, and a marine

surveyor reported that the aft main deck and aft controls were in poor condition. Id. at *8.

The vessel owner conceded that the vessel was not operating and that it had no plans to

use it in the immediate future. Id. at *8-9.




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  Injury to others is not a relevant consideration under Rule E(9)(a)(i)(A), which tells the court to look at whether
“the attached or arrested property is perishable, or liable to deterioration, decay, or injury by being detained in
custody pending the action.” (emphasis added). The clear language of the statute indicates that any “deterioration,
decay, or injury” must be to the Vessels themselves, not to the world at large. For example, “Plaintiff alleges that
‘the vessel's situation ha[s] deteriorated as additional creditors have emerged who seek supplementary warrants of
arrest.’ Even if true, there is no allegation that the property itself is deteriorating.” Gyasi v. M/V "Andre", 2008 U.S.
Dist. LEXIS 30279, at *5 (S.D. Fla. Apr. 1, 2008) (emphasis in original) (denying motion for interlocutory sale of
vessel).



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       None of those conditions exist here. The Vessels, both of which were built in

2016, are anchored in a safe berth selected by the Coast Guard in a far less busy

waterway; both have crew onboard performing ordinary maintenance; and the Vessels’

owners and their representative are working to secure financing to obtain their release

from arrest with plans to put the Vessels back into commercial use. Bisso has produced

no evidence – none whatsoever – that the Vessels are perishable, deteriorating or

decaying as a result of the current arrest. Bisso offers only conjecture, bluster and

conclusory assertions. Contrary to Bisso’s bald assertions, the Coast Guard recently

performed inspections on the Vessels and it is understood that it found no significant

deficiencies. Undersigned counsel has requested those reports from the Coast Guard and

intends to present them to the Court before the hearing on the present motion.

       An interlocutory sale cannot be ordered solely on speculation and conjecture. But

that is all Bisso has offered here. Bisso has failed to offer evidence that the Vessels are

perishable or subject to deterioration or decay or injury as required by Rule E

(9)(a)(i)(A). As such, Bisso has failed to carry its burden of proving grounds for an

interlocutory sale under Rule E(9)(a)(i)(A).

B.     The expense of keeping the Vessels is not excessive or disproportionate

       As it relates to Rule E(9)(a)(i)(B), Bisso bears the burden of proof to establish

that costs of maintaining the vessel under attachment are excessive or disproportionate.

Gyasi v. M/V "Andre", 2008 U.S. Dist. LEXIS 30279 (S.D. Fla. Apr. 1, 2008). Bisso has

submitted invoices totaling $87,720 in custodia legis expenses since the arrest of the

Vessels, consisting of substitute custodian charges, launch services charges and marshal


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fees. But these are all expenses that have already been incurred and will not be reduced

or avoided by an early sale of the Vessels. These are costs that are inherent in Bisso

exercising the extraordinary remedy under Supplemental Admiralty Rules of seizing a

large and valuable asset, such as the Vessels. Such past costs are not directly relevant to

whether the Court should order an interlocutory sale under Rule E(9)(a)(i)(B).

       More relevant to this motion is the fact that Bisso provides no evidence that it will

incur any expenses in the future to maintain the Vessels while under arrest. Bisso has also

failed to submit any proof of the amount of actual expenses that it may incur in

connection with maintaining the Vessels while in custody going forward. Bisso makes

only vague, unsupported references to ongoing obligations to the crew and the Coast

Guard’s work to reduce or eliminate the potential discharge of hydrocarbons remaining

on board the Vessels. But this is all irrelevant. All Coast Guard expenses for towage of

the Vessels to Yellow Fin Marine – already incurred -- dockage and ROB removal is

covered by National Pollution Funds Center. The Funds Center will then recover those

expenses direct from the Vessels’ owners or under their Certificate of Financial

Responsibility (“COFR”), a third party guarantee to pay oil pollution-related charges.

The Coast Guard has confirmed to undersigned counsel that the expenses it has and will

incur related to the Vessels are not custodia legis expenses. Clearly, the Coast Guard has

not made any claim in this litigation for recovery of those expenses.

       Bisso has submitted evidence of $87,720 in custodia legis expenses—which have

already been incurred. But this evidence does not and cannot support a finding that the

costs to maintain the Vessels under attachment are excessive. As one court has stated:

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              The plaintiff represents that it expended approximately
              $193,000 to have the Equipment removed from the vessel and
              placed in storage. Counting Marshal's fees and fees of the
              substitute custodian, the plaintiff states it has spent over

              $210,000 through December 31. Going forward (indeed,
              beginning September 2009), the monthly cost is a stable
              $5,092.

              The plaintiff does not explain the relevance of its sunk costs,
              incurred before it moved for interlocutory sale, in determining
              whether the expense is excessive or disproportionate.
              Certainly no order of sale can recoup the plaintiff's past
              expenditures. Absent authority or explanation, which the
              plaintiff does not provide, the Court limits its consideration to
              the future expenses of keeping the property.

Adams Offshore, Ltd. v. Con-Dive, LLC, 2010 U.S. Dist. LEXIS 7922, at *3-4 (S.D. Ala.

Feb. 1, 2010) (denying sale of a saturation and diving system). (Emphasis added).

              Bisso has failed to demonstrate what the future seizure costs will be, or that

Bisso will incur any future seizure costs, much less that they will be excessive or

disproportionate to the claims asserted or the value of the Vessels.

       Even considering, for argument’s sake, that Bisso can actually identify and

substantiate some anticipated additional custodia legis expenses it will incur maintaining

the Vessels under arrest, Bisso cannot meet its burden of proof to establish that the costs

of maintaining the vessel under arrest are disproportional or excessive. The Bisso claim

in this case totals more than $500,000. Additionally, Crescent/Cooper Smith has asserted

claims of about $40,000; Louisiana Machine has asserted a claim of over $77,000; Belle

Chasse Marine has asserted a claim of about $360,000; and Boland has asserted a claim

of $1,452,540. Thus, these claims total more than $2,400,000. Although the Vessels’



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owners contend many of these claims are not valid or accurate or properly asserted

against the Vessels in rem, the total claims asserted in this litigation are substantially

more than the custodia legis services actually incurred by Bisso. Bisso’s past custodia

legis expenses are less than 4% of the total claims.

       Clearly, Bisso has failed to show that the future custodia legis expenses, if any,

will be excessive or disproportionate to the plaintiff and intervenors’ claims exceeding

$2,400,000. Moreover, it is indisputable that any future custodia legis expenses, whatever

they may be, will not be excessive or disproportionate compared to the value of the

Vessels, which Bisso acknowledges exceeds $100,000,000.

       “The rule does not specify whether disproportionateness is measured against the

amount sought or the value of the vessel. Some courts have indicated that the value of the

vessel may be the relevant comparitor.” John W. Stone Oil Distrib., L.L.C. v. M/V Lucy,

2009 U.S. Dist. LEXIS 114086, at *2 n.2 (E.D. La. Nov. 20, 2009) (Berrigan, J.) (though

ultimately finding that “the expense of keeping the vessels is excessive and

disproportionate when compared to the amounts of the liens…”). See First Am. Title Ins.

Co. v. M/V Golden Eagle III, 2014 U.S. Dist. LEXIS 108995, at *6 n.2 (E.D. La. Aug. 7,

2014) (Barbier, J.) (“Here, given the low value of the vessel relative to the amount

sought, this interpretation of the rule strengthens the Court's finding that the expense of

maintenance is excessive or disproportionate.”); Gyasi v. M/V "Andre", 2008 U.S. Dist.

LEXIS 30279, at *5 (S.D. Fla. Apr. 1, 2008) (considering the plaintiff’s argument that

“the expense of keeping the vessel is disproportionate to its value,” but ultimately

dismissing the motion for lack of factual support); Pee Dee State Bank v. The F/V Wild

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Turkey, 1991 U.S. Dist. LEXIS 20288 (D.S.C. Oct. 9, 1991) (comparing the custodial

costs of the vessel with the market value of the vessel before ordering an interlocutory

sale).

         In Boland Marine & Mfg. Co. v. M/V A.G. Navajo, 2002 U.S. Dist. LEXIS 22737

(E.D. La. Nov. 22, 2002), this Court specifically rejected the movants argument that the

cost of maintaining the vessel was excessive or disproportionate where the plaintiffs

failed to show that the continuing daily costs were “excessive or disproportionate to the

vessel’s value.” Id. at *10. Similarly, in Louisiana International Marine v. The Drilling

Rig Atlas Century, 2011 WL 76337219 (S.D. Tex. November 21, 2011), the rig at issue

was valued at $32 million. The plaintiff’s claim was $859,100.00. The Plaintiff spent

$50,000.00 to detain the rig and anticipated monthly custodian costs of $18,000.00 to

maintain the vessel under arrest. The court noted that although these costs could become

substantial over time, the custodian costs were only 12% of plaintiff’s claim and 2% of

the Rig’s value. Accordingly, the court found that the custodian costs were not excessive

or disproportional. In Adams Offshore, Ltd. v. Con-Dive, LLC, 2010 U.S. Dist. LEXIS

7922, at *4 (S.D. Ala. Feb. 1, 2010), the court denied the interlocutory sale of a saturation

and diving system “given the plaintiff's admission that even the forced liquidation value

of the Equipment is at least $ 2,500,000, expenses of $ 51,000 (or barely 2%) cannot

easily be called disproportionate, and the plaintiff identifies no authority supporting a

contrary conclusion.”

         As Bisso acknowledges in its Motion, the Vessels have a “conservative estimate”

of $100 million fair market value. Moreover, neither is subject to a mortgage. It is

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difficult to envision any future custodia legis expenses for these Vessels coming even

close to being considered disproportionate to the very significant value of the Vessels. As

an example, the $87,720 in previously incurred custodia legis expenses represents

0.00087% of the Vessels’ value. This certainly is not a case where lienholders continue to

incur custodia legis expenses “with uncertain hope of reimbursement.” Merchants Nat’l

Bank of Mobile v. Dredge Gen. G.L. Gillespie, 663 F.2d 1338, 1342 (5th Cir. 1981).

Thus, even if Bisso faces significant custodia legis expenses over the next several

months, which it has not shown, it undoubtedly will recover those sums if the Vessels

have to be sold at that point.

       Ultimately, Bisso has failed to offer evidence proving that the expense of keeping

the Vessels is excessive or disproportionate as required by Rule E(9)(a)(i)(B).

C.     There has not been an unreasonable delay in securing release of the Vessels

       The Vessels were arrested on December 18, 2019. Without citing any direct

authority supporting its contention, Bisso contends that the delay in securing release of

the Vessels in a little over 2 months is somehow unreasonable. The cases cited by Bisso

do not support that contention, which lacks merit.

       There is simply no basis to conclude that the Vessels’ owners’ 2 month delay in

securing the release of the Vessels has been unreasonable. “The parties do not cite, and

this Court cannot find, a case in which a court found a delay of less than three and a half

months to be unreasonable.” Samsun Logix Corp. v. Parkroad Corp., 2009 U.S. Dist.

LEXIS 7602, at *12 (W.D. La. Feb. 3, 2009). As another court put it, “[a] three month

delay, without more, is insufficient to merit interlocutory sale under Supplemental Rule


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E(9)(b).” Gyasi v. M/V "Andre", 2008 U.S. Dist. LEXIS 30279, at *5 (S.D. Fla. Apr. 1,

2008). “As a general rule, defendants are given at least four months to bond a vessel

absent some other considerations.” John W. Stone Oil Distrib., L.L.C. v. M/V Lucy, 2009

U.S. Dist. LEXIS 114086, at *2 (E.D. La. Nov. 20, 2009) (citing cases).

       Bisso contends that the “imminent and substantial danger caused by the Bouchard

Interests in leaving the Vessels undermanned and exposed to dangers presents such ‘other

considerations.’” But as discussed above, Bisso offers no evidence of any such dangers.

To the contrary, the Vessels are presently in a safe and secure location selected by the

Coast Guard, with crews aboard performing necessary maintenance.

       A review of cases decided on unreasonable delay in securing release of the

property almost universally found that another factor under Rule E(9)(i) also was present.

See Merchants Nat'l Bank v. Dredge Gen. G. L. Gillespie, 663 F.2d 1338, 1342 (5th Cir.

1981); John W. Stone Oil Distrib., supra (“the court finds the expense of keeping the

vessels is excessive and disproportionate); Colonna’s Shipyard, Inc. v. U.S.A.F. General

Hoyt S. Vandenberg, 584 F.Supp. 2d 862 (E.D. Va. 2008) (“the Court finds Colanna’s

has provided sufficient evidence to establish both that storage costs have become

excessive and that there has been unreasonable delay in securing the vessel’s release”);

Ferrous Financial Services Co. v. O/S ARCTIC PRODUCER, 567 F.Supp. 400 (W.D.

Wa. 1983) (“The Court makes no finding with respect to the contention of deterioration

but finds that there is an unreasonable delay in securing the release of defendant vessel

and that the expense of keeping said vessel is excessive”); Neptune Orient Lines, Ltd. v.

Halla Merchant Marine Co., Ltd., 1998 WL 128993, at *6 (E.D. La 1998) (“further delay

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of the sale would be unreasonable. The vessel is subject to deterioration, which would

reduce its value and incur additional custodia legis and other maintenance expenses”).

      Moreover, this is not a case where the vessel owner made no effort to secure the

vessel’s release. See, e.g., Merchants Nat. Bank of Mobile, 663 F.2d at 1342 (affirming

district court’s determination of unreasonable delay where “[t]he owners of the vessels

never posted bond, entered into any stipulation or otherwise attempted to secure the

release of the vessels during the eight months after the seizure”); Boland Marine & Mfg.

Co. v. M/V A.G. Navajo, supra, at *6-7; Prosperity Bank v. Tom’s Marine & Salvage,

LLC, 2020 U.S. Dist. LEXIS 26811, at *6 (E.D. La. Feb. 18, 2020). In contrast, where the

vessel’s owner took active measures to secure the release of the vessel, courts have found

delay reasonable. Boland Marine, 2002 U.S. Dist. LEXIS 22737, at *6 (citing Action

Marine, Inc. v. M/V NORSEMAN, 1997 U.S. Dist. LEXIS 5898, at *3 (E.D. La. Apr. 28,

1997)) and Entron, Ltd. v. Crane Vessel Titan 2, 1995 U.S. Lexis 6005, *8-9 (E.D. La.

1995)).

      In this matter, the evidence establishes that the Vessels’ owners’ representatives

are actively working to obtain the financing needed to secure the Vessels’ release and/or

resolve these claims (R. Doc. 36-2, Declaration of Martin S. Bouchard, ¶5). As Bisso

itself noted in its motion, at the February 18, 2020 hearing on the Emergency Motion

before this Court, Mr. Morton Bouchard represented to this Court that the Bouchard

Interests were attempting to secure financing to fund crew costs and to satisfy amounts

owed by the Bouchard Interests to Bisso and the other claimants. And in a similar

proceeding before the United States District Court for Southern District of Texas,

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“Bollinger Amelia Repair LLC v. Bouchard Transportation Co., Inc., et al, Civil Action

No. 2:19-cv-00370,” Mr. Bouchard submitted a Sworn Declaration last week confirming

that he has been in negotiations to recapitalize the Bouchard Interests, is in the final

stages of negotiation for immediate financing, and expects the negotiations to result in the

Bouchard Interests being funded later this month. (Exhibit A, p. 3, ¶10).

       In the Bollinger Amelia case, the Court just last week, on February 27, 2020,

issued the attached Order (R. Doc. 35) denying plaintiffs’ Motion for an Interlocutory

Sale of the Barge B. No. 240. (Exhibit B). The Court found the expense of keeping the

barge was not disproportionate to the value of plaintiffs’ claim or the value of the barge

and, further, that there was not an unreasonable delay in securing release of the barge

because less than three months had passed since the arrest. The Court noted that

defendants are typically given “four or more months before a delay is considered

unreasonable.” Id. pg. 2.

       “A motion for interlocutory sale is not typically granted until enough time has

passed to allow defendants to provide a bond to secure release of the vessel.” Bank of Rio

Vista v. Vessel Captain Pete, 2004 WL 2330704 (N.D. Ca. 2004). In this case, only

slightly more than two months have elapsed since the arrest, and the Vessels’ owners’

representatives are actively working to resolve their financial issues and this arrest. Bisso

has failed to prove unreasonable delay justifying an interlocutory sale under Rule

E(9)(a)(i)(C).




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                                         Conclusion

       In sum, Bisso has failed to carry its burden of proving any of the grounds for an

interlocutory sale of the Vessels under Supplemental Rule E(9)(a). Bisso has failed to

show that the Vessels are perishable or at risk of deterioration, decay or injury during this

arrest. To the contrary, the Vessels are presently at a safe and secure location in Port

Fourchon that was selected by the Coast Guard to avoid a potential environmental threat,

with a crew onboard performing ordinary maintenance.

       Nor has Bisso shown that it will incur any custodia legis costs in the future or

what custodia legis will be incurred going forward, or that those costs will be

disproportionate to the value of the claims asserted in this litigation or the value of the

Vessels. Moreover, Bisso acknowledges that the Vessels are worth far, far more than all

the claims asserted in this case and all potential custodia legis expenses. It is

uncontroverted that future custodia legis costs can be satisfied with certainty if the

Vessels have to be sold at some point in the future.

       Finally, the Vessels’ owners’ two month delay in securing the Vessels’ release is

not unreasonable as a matter of law. Courts uniformly give vessel owners at least four

months or more to secure a vessel’s release, particularly when, as here, the Vessels’

owners’ representatives are actively working to obtain the funding needed to secure the

Vessels’ release and/or resolve the claims.

       For all of these reasons, Bisso’s Motion for Interlocutory Sale [R. Doc. 41] should

be denied.




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                                     Respectfully submitted,
                                     MURPHY, ROGERS, SLOSS,
                                      GAMBEL & TOMPKINS

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                                     BOUCHARD, in rem, making a restricted
                                     appearance pursuant to Rule E(8) of the
                                     Federal Rules of Civil Procedure, and B. No.
                                     272 Corp., as owner of the Barge B. No. 272, in
                                     rem, making a restricted appearance pursuant
                                     to Rule E(8) of the Federal Rules of Civil
                                     Procedure
5844



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